Upon consideration of the confession of errors filed in this cause by the appellee, notice of which filing has been duly given to the appellant, as appears of record, it is thereupon
Considered, ordered and adjudged by this Court that the decree appealed from in this cause be and the same is hereby *Page 37 
reversed on the authority of the confession of errors filed by the appellee, and that the cause be remanded to the Circuit Court of Sarasota County, Florida, with directions to said Circuit Court to permit the filing of such amended and supplemental petition on the part of Sarasota County, Florida, as may be conformable to the opinions and judgments of this Court in the following cases decided by this Court at its present term, viz.: County of Bay v. State of Florida, 116 Fla. 656,157 Sou. Rep. 1, opinion filed September 26, 1934, and State of Florida v. Citrus County, 116 Fla. 676,157 Sou. Rep. 4, opinion filed September 27, 1934, to the end that said Circuit Court of Sarasota County, upon the filing of such amended and supplemental petition to conform to the opinions of this Court hereinabove cited, may proceed anew with said validation proceedings to a proper judgment or decree in the premises not inconsistent with the opinions and judgments of this Court in the cases of County of Bay v. State of Florida,supra, and State of Florida v. Citrus County, supra.
Reversed on confession of errors and remanded.
DAVIS, C. J., and WHITFIELD, TERRELL and BROWN, J. J., concur.